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 9
      Interim Counsel for the Advertiser Class
10

11                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
12                                        SAN JOSE DIVISION
13
     MAXIMILIAN KLEIN, et al., on behalf of
14   themselves and all others similarly situated,

15                                                          Case No.: 20-CV-08570-LHK
              Plaintiffs,
16                                                          The Hon. Lucy H. Koh
            v.
17
     FACEBOOK, INC.,
18
              Defendant.
19
20   JESSICA L. LAYSER, individually and on behalf
     of all others similarly situated,                      Case No.: 21-cv-00337-LHK
21
                                                            The Hon. Lucy H. Koh
                            Plaintiff,
22
                   v.
23
                                                            PLAINTIFF JESSICA L. LAYSER’S
24   FACEBOOK, INC.,                                        NOTICE OF VOLUNTARY
                                                            DISMISSAL WITHOUT PREJUDICE
25                          Defendant.

26
27

28

30                                                              PLAINTIFF JESSICA L. LAYSER’S NOTICE OF
                                                               VOLUNTARY DISMISSAL WITHOUT PREJUDICE
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               Case 3:20-cv-08570-JD Document 129 Filed 08/05/21 Page 2 of 3




 1          PLEASE TAKE NOTICE that Plaintiff Jessica L. Layser hereby voluntarily dismisses her
 2   claims in this action against Defendant Facebook, Inc., without prejudice, pursuant to Rule
 3   41(a)(1)(A)(i) of the Federal Rules of Civil Procedure. Defendant has neither filed an answer, nor
 4   moved for summary judgment, and a class has not yet been certified.
 5
      DATED: August 5, 2021                                Respectfully submitted,
 6

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27                                                         Interim Counsel for the Advertiser Class
28                                                   2
                                                               PLAINTIFF JESSICA L. LAYSER’S NOTICE OF
30                                                            VOLUNTARY DISMISSAL WITHOUT PREJUDICE

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               Case 3:20-cv-08570-JD Document 129 Filed 08/05/21 Page 3 of 3




 1                             ATTESTATION OF KEITH J. VERRIER
 2          This document is being filed through the Electronic Case Filing (ECF) system by Keith J.
 3   Verrier, who attests that he has obtained concurrence in the filing of this document from each of
 4   the attorneys identified on the caption page and in the signature block.
 5

 6   Dated: August 5, 2021
                                                             Keith J. Verrier
 7

 8
 9                                    CERTIFICATE OF SERVICE

10          I hereby certify that on this 5th day of August, 2021, I electronically transmitted the

11   foregoing document to the Clerk’s Office using the CM/ECF System, causing the document to be

12   electronically served on all attorneys of record.

13

14   Dated: August 5, 2021
                                                             Keith J. Verrier
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                                                                  PLAINTIFF JESSICA L. LAYSER’S NOTICE OF
30                                                               VOLUNTARY DISMISSAL WITHOUT PREJUDICE

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